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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF MISSISSIPPI
                        NORTHERN DIVISION




SECURITIES AND EXCHANGE
COMMISSION,

                            Plaintiff,

                       v.                         Case No. 3:18-CV-252-
                                                  CWR-FKB

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

                            Defendants,



       PLAINTIFF’S RESPONSE TO RECEIVER’S STATUS REPORT

       Plaintiff Securities and Exchange Commission (“SEC”) files this Response

to the August 21, 2018 Status Report filed by Receiver Alysson Mills [Dkt. No.

36].

       In her Status Report, the Receiver recommends, among other things, that the

Court permit her to continue her investigation and continue to administer the

receivership estate. The SEC supports maintaining the receivership as set forth in

the Receiver’s Status Report. The SEC also does not object to the changes

proposed by the Receiver to the Order Appointing Receiver [Dkt. No. 33].
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Dated this 22d day of August, 2018.

                                      Respectfully submitted,


                                      s/ W. Shawn Murnahan
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                             OF COUNSEL

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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF MISSISSIPPI
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SECURITIES AND EXCHANGE
COMMISSION,

                            Plaintiff,

                       v.                           Case No. 3:18-CV-252-
                                                    CWR-FKB

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

                            Defendants,



                         CERTIFICATE OF SERVICE

      I hereby certify that on this day, I served a true and correct copy of the

Plaintiff’s Response to Receiver’s Status Report via the CM/ECF system, which

will send notice of such filing to counsel of record.


                                          Respectfully submitted,

                                          s/ W. Shawn Murnahan
                                          W. Shawn Murnahan
